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UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 04-20238-D

LORENZO NAVARRO CALDERON
Defendant.

-._¢-._».__,~._'~__»-_rv-_.¢~._p

 

ORDER ON CI'IANGE OF PLEA
AND SETTING

 

This cause came on to be heard on July 19, 2005, the United States
Attorney for this district, Linda N. Harris, appearing for the
Government and the defendant, Lorenzo Navarro Calderon, appearing in
person and with counsel, Edwin A. Perry, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this ease is SET for TUESDAY, OCTOBER 18, 2005, at
1230 P.M., before Judge Bernice B. Donald.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this thig;_; day of July, 2005.

  

ITED STATES DISTRICT COURT

   

T'nls document entered on the docket shea
with Ruie 55 and!or 32{b) FRCrP on

   

UNITED sATE DSTIIC COURT - WETERN DISTRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 45 in
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Linda N. Harris

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Honorable Bernice Donald
US DISTRICT COURT

